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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     UMG RECORDINGS, INC., et al.,

            Plaintiffs,

     v.                                                        Case No. 8:19-cv-00710-MSS-TGW

     BRIGHT HOUSE NETWORKS, LLC,

            Defendant.

                                       [PROPOSED] ORDER

            UPON CONSIDERATION OF Defendant, Bright House Networks, LLC’s

     (“BHN”), Motion to Seal pursuant to Rule 5.2(d) of the Federal Rules of Civil Procedure

     and Rule 1.09(b) of the Rules of the District Court of the United States for the Middle

     District of Florida (“Local Rules”), which seeks an order allowing BHN to file (i)

     unredacted portions of the memorandum in support of the Motion to Compel that reference

     documents produced by Plaintiffs in Warner Bros. Records Inc. v. Charter Commc’ns, Inc.,

     Case No. 19-cv-00874-RBJ-MEH (D. Colo.) (designated Highly Confidential under the

     Protective Order in that case) and (ii) Exhibit 19 to the Declaration of Erin Ranahan in

     support of BHN’s Motion to Compel, Bates No. MM000023 (designated Confidential by

     third party MarkMonitor under the Protective Order in this case).

            It is hereby ORDERED that the motion is GRANTED, and these materials shall

     remain under seal in their entirety until further order of the Court.

                   ENTERED this ____ day of ______, 2020 in Tampa, Florida.


                                            ____________________________________
